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                                Exhibit
                                  17
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(h        ://novembe tea .co /)
                                                                              
William F. B. O’Reilly
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         ill O’Reilly (http://en.wikipedia.org/wiki/William_F._B._O%27Reilly) has been
 B       delivering successful corporate and political communications strategies for more
         than 25 years. He is a top writer in the industry, and he has built deep and trusted
professional relationships with members of the news media. Campaigns and Elections
magazine called Bill, “widely respected among reporters as tough but fair.”
Bill has served as a spokesman for dozens of candidates, causes, and private corporations
over the years. His writing in behalf of clients has appeared in newspapers and magazines
across the country, and his personal observations are available in a twice-weekly column
for Newsday and AMNY. He is co-host of a weekly public a airs television show called
“Newsbreakers” that appears throughout New York’s Hudson Valley on FIOS 1.
Bill is a former board member of the American Association of Political Consultants and he
is a current board member at The William F. Buckley Jr. Program at Yale. He and his wife,
Corrinne, live in Westchester County, NY and have three daughters.


Bill@NovemberTeam.com
212-396-9117
@wfbor


       (https://twitter.com/search?q=%40wfbor&src=typd)

                            Follow Bill’s column on Newsday!
             (http://www.newsday.com/opinion/columnists/william-f-b-o-reilly)




      “Movers and Shakers: O’Reilly someone to watch in 2014”

                                         The Journal News



                  “One of New York State’s Top In uencers”

                                      Campaigns & Elections
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    “In a series of canny moves, O’Reilly took a race that seemed
         like a formality…and pulled o an upset with national
                             implications.”

                                    New York Observer



  “Widely regarded as someone even reporters like to deal with.”

                             Campaigns & Elections magazine



                            “A savvy PR specialist”

                                  Campaigns & Elections



        “Widely respected among reporters as tough but fair”

                                  Campaigns & Elections




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